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                    Exhibit 4
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                             Case 2:14-cv-01884-BJR Document 25-3 Filed
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                                                       DEPARTMENT OFTHEARMY
                                                         Battalion Tactical Departnent
                                              United States Military Academy heparatory School
                                                      Fort Monmouth, New Jcrsey W7A3




                  MAPS-BTD-A                                                                               l0 November 2009


                  MEMORANDI.'M FOR BATTALION TACTICAL OFFICER, USMAPS

                  SUBJECT: Battalion TacticalOfficer's Board Packet for CC Aguigui,Isaac

.::.-{:-'j.   .
                  i:'   CC Ag,ri!ri, Isdic will attend the Battalion Tictical Officer's Board on i2 November 2009'to
                  address his pattern   of misconduct at USMAPS.

                  2. CC Aguigui     has demonstrated a disturbing pattern of misconduct over the past several weeks which
                  warrant aBTO      board at the earliest date. The panern of misconduct involves failing to attend
                  mandatory study barracks, honor violation, lying to a tactical oificer, several threshold violations,
                  possessing a weapon (i.e., knife) and having intercourse in the barracks. Hbwever, the most severe
                  incident involves verbally and physically threatening the livelihood of two CCs (i.e., Day, Chrismon).
                  With regard to CC Chrismon, CC Aguigui verbally and physically threatened his tife by brandishing his
                  knife to CC.Chrismon's neck. The attached sworn statements speak to the aforementioned pattern of
                  misconduct and it is my strong opinion that CC Agurgni be expeditiously separated from USMAPS.

                  3. Point of Contact for this memorandum is the undersigned           at (732)532-5160.




                  Encls:
                  DA 2823 (8)




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                                                                                                 . Date: .12   November 2009


                 MEMORAI{DI.'M FOR RECORD

                 SLJBJECT: Separation of Cadet Ca*didate Isaac Aguigui


         .       l. Reason:
                     a.   Academic Failu:e:

                    b.    CFA Failure:

                    c.  Misconduct: CC Aguigui is being separated for exhibiting a pattem of misconduct over the past
                        several weeks which initially warranted a BTO board. The pattern of misconduct
                        involved failing to attend mandatory study barracks, honor violation, lying to a tactical
                      . offi@r, several threshold violations, possessing a weapon (i.e., knife) and having
                        intercourse in the baracks. However, the most severe incident involves verbally and
                        physically threatening the livelihood of nvo CCs (i.e., Day, Chrismon). V/ith regard to
                        CC Chrismon, CC Agurgur verbally and physically threatened his life by brandishing his
                       "knife to CC Chrismon's neck. The auached swom statemeots speak to the
                        aforementioned pattern of misconduct. The result of the BTO board recorlmends that
                        CC Aguigui be separated from USMAPS at the earliest possible date.

                    d.    Othen

                 2. Aguigui,Isacc

                 3. Company A, Room      115   A/3, Building   1205, FoG Monmouth, New Jersey WTOL



                 4. COMMBNTS/RECOMMEhIDAIIONS:
       :-\..r-
                    a. Batialion iictical Officei:   I reguest separition of thii Cad;i CandAate'for   iharcason(s) indicated
                    above.




                                                                    GREGORY S.        TILY
                                                            .       MAI, AV
                                                                    Battalion Tactical Officer




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                                                          AR K. RUGENSTEIN

                                                  Comrnandant and Dean

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